                                                                                                      Electronically Filed - BUTLER - January 29, 2024 - 04:30 PM
  Case:
   Case:1:24-cv-00062-SNLJ
         1:24-cv-00062 Doc. Doc.
                            #: 1-2
                                 #: 4Filed:
                                        Filed:
                                            03/28/24
                                               03/28/24Page:
                                                         Page:
                                                             4 of1 31
                                                                   of 6PageID
                                                                        PageID#:#:1190
                                                                              24BT-CV00222


             IN THE CIRCUIT COURT OF BUTLER COUNTY, MISSOURI
                       THIRTY-SIXTH JUDICIAL CIRCUIT

FCCI INSURANCE COMPANY as assignee of  )                    Cause No. ____
G&G Farms, Murphy Grain LLC and G&G    )
Murphy LLC,                            )
                                       )
                           Plaintiff,  )
                                       )                    Division No. __
     v.                                )
                                       )
DEERE & COMPANY d/b/a JOHN DEERE       )
     Serve via Sheriff on:             )
     Registered Agent                  )
     Edward R. Berk                    )
     One John Deere Place              )
     Moline, IL 61265                  )
                                       )
MCCOY CONSTRUCTION & FORESTRY, INC. )
    Serve via Sheriff on:              )
     Registered Agent                  )
     Julie Gower                       )
     200 Erb Industrial Drive          )
     Fenton, MO 63026                  )
                                       )
                           Defendants. )




                                           PETITION

       NOW COMES Plaintiff, FCCI Insurance Company as assignee of G&G Farms, G&G

Murphy LLC (collectively, “G&G Farms”), and Murphy Grain LLC, by and through its counsel,

Cozen O’Connor, and for its Petition against Defendants Deere & Company d/b/a John Deere and

McCoy Construction & Forestry, Inc., alleges as follows:

                                            PARTIES

       1.      Plaintiff, FCCI Insurance Company (“FCCI” or “Plaintiff”) is a corporation

organized and existing under the laws of the State of Florida, with its principal place of business
                                                                                                       Electronically Filed - BUTLER - January 29, 2024 - 04:30 PM
  Case:
   Case:1:24-cv-00062-SNLJ
         1:24-cv-00062 Doc. Doc.
                            #: 1-2
                                 #: 4Filed:
                                        Filed:
                                            03/28/24
                                               03/28/24Page:
                                                         Page:
                                                             5 of2 31
                                                                   of 6PageID
                                                                        PageID#:#:1291




located at 6300 University Parkway, Sarasota, Florida 34240, which is authorized to issue

insurance policies in the State of Missouri. FCCI provided insurance coverage under a policy

issued to G&G Farms against loss and damage to 43315 State Highway 25, Malden, Missouri

63863, including personal property, machinery and equipment, as more fully set forth in the terms

and provisions of said policy.

       2.      At all times relevant, Defendant, Deere & Company (“Deere”), was a corporation

organized and existing under the laws of the State of Delaware with its principal place of business

located at One John Deere Place, Moline, Illinois 61265 that was engaged in the business of

manufacturing and selling heavy equipment, such as excavators, under the assumed name John

Deere Company.

       3.   At all times relevant, Defendant, McCoy Construction & Forestry, Inc. (“McCoy”),

was a corporation organized and existing under the laws of the State of Wisconsin with its principal

place of business located at 2099 Southpark Court, Dubuque, IA 52003 that was engaged in the

business of selling and servicing heavy equipment such as John Deere Excavators.


                                    JURISDICTION AND VENUE

       4.      This court has personal jurisdiction over Defendants in this matter as Defendants

caused injury in the State of Missouri and have had systematic and continuous contact with the

State of Missouri and Butler County.

       5.      Plaintiff seeks damages that are in excess of $100,000.

       6.      This venue is proper because all or a substantial part of the events, acts, and

transactions giving rise to this claim occurred in Butler County, Missouri.
                                                                                                    Electronically Filed - BUTLER - January 29, 2024 - 04:30 PM
  Case:
   Case:1:24-cv-00062-SNLJ
         1:24-cv-00062 Doc. Doc.
                            #: 1-2
                                 #: 4Filed:
                                        Filed:
                                            03/28/24
                                               03/28/24Page:
                                                         Page:
                                                             6 of3 31
                                                                   of 6PageID
                                                                        PageID#:#:1392




                                      FACTUAL ALLEGATIONS

       7.      On February 1, 2023, Murphy Grain LLC (“Murphy Grain”) purchased a 2022 John

Deere 210G LC FT4 Excavator, VIN 1FF210GXHNF530813, (the “Subject Excavator”) from

McCoy. (A true and accurate copy of the Purchase Order for the Subject Excavator is attached

hereto as Exhibit A).

       8.      The Subject Excavator was designed, manufactured, sold and/or distributed into

the stream of commerce by Deere.

       9.      On a date prior to October 16, 2023, Plaintiff issued a policy of insurance to its

insured that was in effect on October 16, 2023 whereby Plaintiff provided property insurance

coverage for the Subject Excavator.

       10.     The policy of insurance provided property insurance in the event of damage to the

Subject Excavator.

        11.    On October 16, 2023, while using the Subject Excavator in a field near the

intersection of County Road 559 and B Street in Poplar Bluff, Missouri, a hydraulic hose and/or

fitting of the Subject Excavator failed, causing hydraulic fluid to come into contact with a hot

surface on the Subject Excavator, which caused the Subject Excavator to suddenly and without

warning ignite and catch fire (the “Fire”).

       12.     At all times the Subject Excavator was used as it was reasonably anticipated by

Defendants.

       13.     As a result of the fire, G&G Farms made a property insurance claim with Plaintiff

for costs associated with the fire damage to the Subject Excavator, and Plaintiff paid G&G Farms

$253,000.00.
                                                                                                        Electronically Filed - BUTLER - January 29, 2024 - 04:30 PM
  Case:
   Case:1:24-cv-00062-SNLJ
         1:24-cv-00062 Doc. Doc.
                            #: 1-2
                                 #: 4Filed:
                                        Filed:
                                            03/28/24
                                               03/28/24Page:
                                                         Page:
                                                             7 of4 31
                                                                   of 6PageID
                                                                        PageID#:#:1493




       14.     G&G Farms and Murphy Grain assigned all of their claims and/or legal title to all

causes of action arising from the Fire to Plaintiff, including the right to pursue this action.

                                  COUNT I
                  BREACH OF EXPRESS AND IMPLIED WARRANTIES
                     DIRECTED AGAINST DEERE & COMPANY

       15.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth

in paragraphs one (1) through fourteen (14) above, as though fully set forth herein at length.

       16.     The Subject Excavator was designed, manufactured, sold and/or distributed into the

stream of commerce by Deere in the regular course of business and was expected to and did reach

Murphy Grain without substantial change in the condition in which it was manufactured.

       17.     Deere expressly and impliedly represented and warranted that the Subject

Excavator was safe for use by the general public, merchantable, and fit for the particular purpose

for which it was intended.

       18.     The Subject Excavator did not comply or conform with the representations and was

in breach of the express and implied warranties made by Deere in that it was defective, negligently

manufactured, and in an unsafe condition.

       19.     As a direct and proximate result of the breach of the aforementioned implied

warranties, the Subject Excavator ignited a fire, and the Plaintiff sustained damages in an amount

in excess of Two Hundred and Fifty-three Thousand Dollars ($253,000.00), exclusive of interest

and costs, for which Deere is legally liable.

       WHEREFORE, the Plaintiff, FCCI Insurance Company as assignee of G&G Farms and

Murphy Grain respectfully prays for judgment in its favor against Defendant, Deere & Company,

in an amount in excess of Two Hundred and Fifty-three Thousand Dollars ($253,000.00), together

with interest and costs, and for all further and proper relief.
                                                                                                       Electronically Filed - BUTLER - January 29, 2024 - 04:30 PM
  Case:
   Case:1:24-cv-00062-SNLJ
         1:24-cv-00062 Doc. Doc.
                            #: 1-2
                                 #: 4Filed:
                                        Filed:
                                            03/28/24
                                               03/28/24Page:
                                                         Page:
                                                             8 of5 31
                                                                   of 6PageID
                                                                        PageID#:#:1594




                              COUNT II
                BREACH OF EXPRESS/IMPLIED WARRANTIES
         DIRECTED AGAINST MCCOY CONSTRUCTION & FORESTRY, INC.

       20.     Plaintiff re-alleges and incorporates by reference each and every allegation set

forth in paragraphs one (1) through fourteen (14) above, as though fully set forth herein at length.

       21.     The Subject Excavator was designed, manufactured, sold and/or distributed into the

stream of commerce by McCoy in the regular course of business and was expected to and did reach

Murphy Grain without substantial change in the condition in which it was manufactured.

       22.     McCoy expressly and impliedly represented and warranted that the Subject

Excavator was safe for use by the general public, merchantable, and fit for the particular purpose

for which it was intended.

       23.     The Subject Excavator did not comply or conform with the representations and was

in breach of the express and implied warranties made by McCoy in that it was defective,

negligently manufactured, and in an unsafe condition.

       24.     As a direct and proximate result of the breach of the aforementioned implied

warranties, the Subject Excavator ignited a fire, and the Plaintiff sustained damages in an amount

in excess of Two Hundred and Fifty-three Thousand Dollars ($253,000.00), exclusive of interest

and costs, for which McCoy is legally liable.

       WHEREFORE, the Plaintiff, FCCI Insurance Company as assignee of G&G Farms and

Murphy Grain respectfully prays for judgment in its favor against Defendant, McCoy Construction

& Forestry, Inc., in an amount in excess of Two Hundred and Fifty-three Thousand Dollars

($253,000.00), together with interest and costs, and for all further and proper relief.

                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a jury trial on all issues triable by a jury.
                                                                                             Electronically Filed - BUTLER - January 29, 2024 - 04:30 PM
  Case:
   Case:1:24-cv-00062-SNLJ
         1:24-cv-00062 Doc. Doc.
                            #: 1-2
                                 #: 4Filed:
                                        Filed:
                                            03/28/24
                                               03/28/24Page:
                                                         Page:
                                                             9 of6 31
                                                                   of 6PageID
                                                                        PageID#:#:1695




Date: January 29, 2024                         Respectfully submitted,


                                                FCCI INSURANCE COMPANY,

                                               By: /s/ Marisa L. Saber
                                                One of Plaintiffs’ Attorneys


                                               Marisa L. Saber (MO # 60360)
                                               Jeffrey B. Greenspan (pro hac vice pending)
                                               Cozen O’Connor
                                               123 North Wacker Drive, Suite 1800
                                               Chicago, Illinois 60606
                                               Telephone: (312) 382-3100
                                               Facsimile: (312) 706-9723
                                               msaber@cozen.com
                                               jgreenspan@cozen.com
